Case 4:03-cr-00084-MAC-CAN             Document 918        Filed 09/27/10       Page 1 of 3 PageID #:
                                             1452



                            United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERM AN DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
  vs.                                              §            Case No. 4:03cr84
                                                   §            (Judge Schell)
 RANDALL LEE HOTT (20)                             §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on September 13, 2010, to determine whether Defendant violated his supervised

 release. Defendant was represented by Denise Benson. The Government was represented by Ernest

 Gonzalez.

        On April 30, 2004, Defendant was sentenced by the Honorable Richard A. Schell to forty (40)

 months’ custody followed by four (4) years of supervised release for the offense of Conspiracy to

 Manufacture, Distribute, or Possess with Intent to Manufacture, Distribute or Dispense

 Methamphetamine. On August 30, 2006, Defendant completed his period of imprisonment and began

 service of his supervised term.

        On August 11, 2010, the U.S. Pretrial Services Officer executed a Petition for Warrant for

 Offender Under Supervision. The petition asserted that Defendant violated the following mandatory

 conditions: (1) the defendant shall not commit another federal, state, or local crime; and (2) the

 defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit

 to one drug test within 15 days of release from imprisonment and at least two periodic drug tests

 thereafter, as directed by the probation officer. The petition also alleged violations of the following

 standard conditions: (1) the defendant shall refrain from excessive use of alcohol and shall not
Case 4:03-cr-00084-MAC-CAN             Document 918          Filed 09/27/10      Page 2 of 3 PageID #:
                                             1453


 purchase, possess, use, distribute, or administer any controlled substance, or any paraphernalia

 related to any controlled substances, except as prescribed by a physician; and (2) the defendant shall

 report to the probation officer as directed by the Court or probation officer and shall submit a truthful

 and complete written report within the first five days of each month. The petition also alleged

 violations of the following special condition: (1) the defendant shall participate in a program of

 testing and treatment for drug abuse, under the guidance and direction of the U.S. Probation Office,

 until such time as the defendant is released from the program by the probation officer.

         The petition alleges that Defendant committed the following acts: (1) Defendant violated

 Texas Health and Safety Code § 481.333, Falsification of Drug Test Results, a Class B

 misdemeanor, in that on July 27, 2010, he reported to the U.S. Probation Office in Plano, Texas, and

 submitted a random urine specimen that tested positive for methamphetamine. The specimen was

 forwarded to Alere Lab which reported the results were positive for D-Methamphetamine, Dilute

 Specimen-Specific Gravity Substituted, Not Consistent with Normal Human Urine-Creatinine; (2)

 On December 7, 2009, Defendant submitted a urine specimen which tested positive for

 methamphetamine. Defendant signed a statement admitting to using methamphetamine on or about

 December 3, 2009. On July 27, 2010, Defendant submitted a urine specimen which tested positive

 for Methamphetamine; (3) Defendant failed to submit random urine specimens at McCary

 Counseling Services, Denton, Texas, on January 8, 2010, February 1,2010, May 18, 21, and 26,

 2010, June 30, 2010, and July 19, 2010. Defendant also failed to attend substance abuse counseling

 at McCary Counseling Services, Denton, Texas on January 29, 2010, March 17, 2010, May 25, 2010,

 and July 24, 2010. Defendant failed to submit a random urine specimen at the U.S. Probation Office

 on June 25, 2009; and (4) defendant submitted delinquent written monthly reports for the months

 of January 2007, October, November, and December 2008, January through December 2009, and
    Case 4:03-cr-00084-MAC-CAN          Document 918        Filed 09/27/10      Page 3 of 3 PageID #:
                                              1454


     February and June 2010. Defendant failed to report in person to the U.S. Probation Office on

     November 23, 2009.

            Prior to the Government putting on its case, Defendant entered a plea of true to all of the

     violations. The Court recommends that Defendant’s supervised release be revoked.

                                        RECOMMENDATION

            The Court recommends that the District Judge revoke Defendant’s supervised release.

     Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

     to the custody of the Bureau of Prisons to be imprisoned for a term of four (4) months with no

     supervised release to follow. It is also recommended that Defendant be housed in the Bureau of

.    Prisons, Seagoville Unit.

            After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.

            SIGNED this 27th day of September, 2010.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES MAGISTRATE JUDGE
